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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE:                                         §
                                               §
Pedro Cantu                                    §       CASE NO. 24-35154
                                               §       CHAPTER 13
       DEBTOR                                  §
                                               §


                                        NOTICE OF HEARING

       Please be advised that the Court has set the Debtor's Motion to Extend Automatic Stay

for hearing on November 15, 2024 at 10 a.m.,in Courtroom 404, U.S. Courthouse, 515 Rusk,

Houston, Texas 77002 or via Telephone and Video Conference. T o participate electronically,

parties must follow the instructions set forth on Judge Isgur's procedure page located at:

https://www.txs.uscourts.gov/content/united-states-bankruptcy-judge-marvin-isgur.

 Parties are additionally instructed:

         a.      The dial-in number for hearings before Judge Isgur is 832-917-1510 and the

                 conference room number is 954554* ; and

         b.      for video appearances and witness testimony, parties are to utilize the

                 GoToMeeting web-based application and enter conference code: judgeisgur
In compliance with B.L.R. 2002(a), the Order Setting Hearing (Document ) is attached to

this Notice.

*Visit the court's website for the most up to date information related to phone numbers and links
for appearances

In compliance with B.L.R. 2002(a), the Notice of Hearing (Document 7 ) is attached to

this Notice.
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Dated: November 4, 2024

                                   Respectfully submitted,

                                    /s/ Regina M. Vasquez
                                   Regina M. Vasquez SBN 24079268
                                   Vasquez Law Group, PLLC
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                                   Houston, TX 77018
                                   (713) 622-8858
                                   (713) 987-3148 fax
                                   ATTORNEY FOR DEBTOR(S)
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Hearing was
served on the following parties in interest by First Class Mail, postage prepaid on November 4,
2024 and any creditors on the attached matrix.

U.S. Trustee
515 Rusk, Suite 3516
Houston, TX 77002

David G Peake
Chapter 13 Trustee
9660 Hillcroft, Suite 430
Houston, TX 77096-3856


Pedro Cantu
10649 Alcott Dr
Houston, TX 77043




                                           /s/ Regina M. Vasquez
                                           Regina M. Vasquez
